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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                  Filed: February 24, 2022

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                      Re: Case No. 21-1786, Timothy King v. Gretchen Whitmer, et al
                          Originating Case No. : 2:20-cv-13134
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 Dear Counsel,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/C. Anthony Milton
                                                Case Manager
                                                Direct Dial No. 513-564-7026

 cc: Ms. Kinikia D. Essix
     Mr. T. Russell Nobile
     Mr. Paul Joseph Orfanedes

 Enclosure
           Case: 21-1786 Document:
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                                           No. 21-1786

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                                                                     FILED
 TIMOTHY KING, et al.,                                   )                      Feb 24, 2022
                                                         )                 DEBORAH S. HUNT, Clerk
        Plaintiffs,                                      )
                                                         )
 GREGORY J. ROHL, et al.,                                )
                                                         )
        Interested Parties-Appellants,                   )                ORDER
                                                         )
 v.                                                      )
                                                         )
 GRETCHEN WHITMER, et al.,                               )
                                                         )
        Defendants-Appellees.                            )




        Before: GUY, CLAY, and DONALD, Circuit Judges.


        Attorneys Gregory J. Rohl, Brandon Johnson, Howard Kleinhendler, Sidney Powell, Julia

 Haller, and Scott Hagerstrom appeal the district court’s imposition of monetary and non-monetary

 sanctions against them for engaging in abusive litigation practices in the district court. On

 February 14, 2022, the Attorneys moved to stay the non-monetary portion of the district court’s

 sanctions award, issued on August 25, 2021, which ordered:         (1) each of the attorneys to

 complete—before February 25, 2022—at least twelve hours of continuing legal education offered

 by a non-partisan organization on the subjects of pleading standards and election law; and (2) the

 clerk to send a copy of the order to the Michigan Attorney Grievance Commission and to the

 appropriate disciplinary authorities where each attorney is admitted to practice law so those

 organizations could initiate an investigation into the possible suspension or disbarment of each
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 attorney. The City of Detroit, and Michigan Governor Gretchen Whitmer and Michigan Secretary

 of State Jocelyn Benson, separately oppose the motion. The Attorneys reply.

        A motion to stay should first be sought in the district court unless the movant can “show

 that moving first in the district court would be impracticable.” Fed. R. App. P. 8(a)(2)(A)(i). The

 Attorneys acknowledge that they did not first move the district court for a stay, asserting that: it

 was not possible to fully brief a motion to stay in both the district court and this court before the

 February 25 deadline because the district court did not enter its final judgment until December 2,

 2021; the district court’s sua sponte stay of the monetary portion of its judgment when it entered

 the judgment established that it would have been futile to seek a stay of the non-monetary portion

 of the judgment; and it was prudent to seek a stay only after fully fleshing out their arguments in

 their principal brief on appeal. We disagree.

        “The chronology of events in this case belies appellants’ claim that resolution of the stay

 issue by this court is a matter of extreme urgency needing immediate resolution.” Chem. Weapons

 Working Grp. (CWWG) v. Dep’t of the Army, 101 F.3d 1360, 1361 (10th Cir. 1996). Contrary to

 the Attorneys’ assertions, there was ample time for them to seek a stay in the district court before

 the judgment issued under that court’s standard motions practice. See E.D. Mich. LR 7.1(e)(1)(A),

 (B). The district court was also best positioned to consider whether a stay of the non-monetary

 sanctions was appropriate in the first instance, given its familiarity with the record.          See

 Cumberland Tel. & Tel. Co. v. Louisiana Pub. Serv. Comm’n, 260 U.S. 212, 219 (1922). The

 Attorneys’ unsupported speculation that the district court would not exercise its authority in good

 faith is unfounded, particularly considering the district court’s painstaking analysis in support of

 its sanctions order and its sua sponte recognition that a stay of the monetary portion of the

 judgment was appropriate. See id.; see also Whole Women’s Health v. Paxton, 972 F.3d 649, 654

 (5th Cir. 2020) (refusing to find impracticability when a party “appears to apply a presumption of
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                                             No. 21-1786
                                                 -3-

 bad faith on the part of the district court when the appropriate presumption is of course just the

 opposite.”).

        There was also ample time for this court to consider a motion to stay in the normal course.

 Fed. R. App. P. 27(a)(3)(A), (4). The Attorneys’ assertion that it was prudent to delay seeking a

 stay until they filed their principal brief is inexplicable. See Whole Women’s Health, 972 F.3d at

 654 (“Preference and impracticability are not synonyms.”). They waited more than two months

 to seek a stay, knowing the February 25 deadline was imminent. The district court clerk has

 already referred the matter to the Attorneys’ relevant disciplinary authorities. When the district

 court entered its judgment, reducing the monetary sanctions to a sum certain, it had no reason to

 consider whether to stay its non-monetary sanctions imposed more than three months prior.

        Accordingly, given the Attorneys’ failure to first seek a stay in the district court, the motion

 to stay is DENIED.

                                                ENTERED BY ORDER OF THE COURT




                                               Deborah S. Hunt, Clerk
